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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


HELEN SWARTZ, Individually,                       :
                                                  :
                Plaintiff,                        :
                                                  :
vs.                                               :       Case No.:
                                                  :
151 MAIDEN LLC,                                   :
a New York Limited Liability Company,             :
                                                  :
            Defendant.                            :
_______________________________________/


                                           COMPLAINT
                                    (Injunctive Relief Demanded)

        Plaintiff, HELEN SWARTZ, Individually, on her behalf and on behalf of all other

individuals similarly situated (sometimes referred to as APlaintiff@), hereby sues the Defendant,

151 MAIDEN LLC, a New York Limited Liability Company (sometimes referred to as

ADefendant@), for Injunctive Relief, and attorney=s fees, litigation expenses, and costs pursuant to

the Americans with Disabilities Act, 42 U.S.C. ' 12181 et seq. (AADA@), and for damages

pursuant to N.Y. Exec. Law Section 296, et seq. and New York Civil Rights Law § 40, et

seq.

                                             COUNT I

        1.      Defendant=s property, AC Hotel New York Downtown, is located at 151 Maiden

Lane, New York, NY, in the County of New York.

        2.      Venue is properly located in the Southern District of New York because venue

lies in the judicial district of the property situs. The Defendant=s property is located in and does

business within this judicial district.

        3.      Pursuant to 28 U.S.C. ' 1331 and 28 U.S.C. ' 1343, this Court has been given
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original jurisdiction over actions which arise from the Defendant=s violations of Title III of the

Americans with Disabilities Act, 42 U.S.C. ' 12181 et seq. See also 28 U.S.C. ' 2201 and '

2202. The Court has supplemental jurisdiction over the State Law Claims, pursuant to 28

U.S.C. 1367.

       4.      Plaintiff Helen Swartz is a Florida resident, is sui juris, and qualifies as an

individual with disabilities as defined by the ADA. Ms. Swartz has multiple sclerosis and is

mobility impaired, and uses an electric scooter to ambulate.

               Helen Swartz was born and raised in New York City and visits on an average of

five times a year to see shows, eat at facilities, visit family and friends, get her hair cut, and to

shop at stores. Her younger daughter lives in Brooklyn and attends The New School on Fifth

Avenue, her father lives in Great Neck, her brother lives on the upper West Side and her first

cousins reside in New York City. When Ms. Swartz is in New York City her eldest daughter and

granddaughter often take the train from Philadelphia to New York to meet her. Ms. Swartz dines

out with friends and family every time she is in New York.

               Helen Swartz was a guest of the subject hotel from November 14 through

November 15, 2020, and plans to return to the property on June 17 through June 18, 2021. She

is returning to New York to visit the Metropolitan Museum of Art. She also plans to take her

granddaughter to Astoria to meet the Plaintiff’s godfather and to explore the Greek neighborhood

of Astoria, into which she was born. The Plaintiff also wishes to avail herself of the goods and

services offered to the public at the property, if the facilities are fully accessible and the barriers

to access have been corrected. The Plaintiff has encountered architectural barriers at the subject

property, which have impaired her use of the facilities and the amenities offered, and have

endangered her safety at the facilities, and her ability to access the facilities and use the




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restrooms.

       5.       Defendant owns, leases, leases to, or operates a place of public accommodation as

defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

Defendant is responsible for complying with the obligations of the ADA. The place of public

accommodation that the Defendant owns, operates, leases or leases to is known as AC Hotel

New York Downtown, and is located at 151 Maiden Lane, New York, NY.

       6.       Helen Swartz has a realistic, credible, existing and continuing threat of

discrimination from the Defendant=s non-compliance with the ADA with respect to this property

as described but not necessarily limited to the allegations in paragraph 8 of this Complaint.

Plaintiff has reasonable grounds to believe that she will continue to be subjected to

discrimination in violation of the ADA by the Defendant. Helen Swartz has visited the subject

property and desires to visit AC Hotel New York Downtown in the near future, not only to avail

herself of the goods and services available at the property, but to assure herself that this property

is in compliance with the ADA so that she and others similarly situated will have full and equal

enjoyment of the property without fear of discrimination.

       7.       The Defendant has discriminated against the individual Plaintiff and others

similarly situated by denying them access to, and full and equal enjoyment of, the goods,

services, facilities, privileges, advantages and/or accommodations of the buildings, as prohibited

by 42 U.S.C. ' 12182 et seq.

       8.       The Defendant has discriminated, and is continuing to discriminate, against the

Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of

$500,000 or less). A preliminary inspection of AC Hotel New York Downtown has shown that




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violations exist. These violations that Ms. Swartz has personally observed or encountered, and

which were confirmed by Plaintiff’s ADA expert, include but are not limited to:

               a.      In the accessible guestroom #1710, which hotel deemed an accessible
       guestroom, the light fixtures above the bed are out of reach to a person in a wheelchair.
       This is in violation of section 308 of the 2010 Standards for Accessible Design: 28 CFR
       §36.304. This condition made it difficult the plaintiff to access the facility.


               b.    In the accessible guestroom #1710, which hotel deemed an accessible
       guestroom, the window controls require tight grasping or pinching operate. This is in
       violation of section 309.4 of the 2010 Standards for Accessible Design: 28 CFR
       §36.304. This condition made it difficult the plaintiff to access the facility.

               c.      In guestroom #1710, which the hotel deemed an accessible guestroom,
       the window controls are out of reach to a person using a wheelchair. This is in violation
       of sections 308 and 806 of the 2010 Standards for Accessible Design: 28 CFR §36.304.
       This condition made it difficult the plaintiff to access the facility.

               d.       In guestroom #1710, which hotel deemed an accessible guestroom, the
       shower spray unit in the roll-in shower does not have an on/off control with a non-
       positive shut-off. This is in violation of section 806.2.4 of the 2010 Standards for
       Accessible Design: 28 CFR §36.304. This condition made it difficult the plaintiff to
       access the facility.

               e.      In guestroom #1710, which hotel deemed an accessible guestroom, the
       shower unit in the accessible guestroom roll-in shower compartment is out of reach to a
       person in a wheelchair. This is in violation of section 806.2.4 of the 2010 Standards for
       Accessible Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to
       access the shower unit.

               f.        In guestroom #1710, which hotel deemed an accessible guestroom, the
       grab bars in the roll-in shower in the guestroom bathroom are positioned too low. This
       is in violation of section 806.2.4 of the 2010 Standards for Accessible Design: 28 CFR
       §36.304. This condition made it difficult for the plaintiff to access the facility.

              g.       In guestroom #1710, which hotel deemed an accessible guestroom,
       appropriate size grab bars in the roll-in shower in the guestroom bathroom are not
       provided. This is in violation of section 806.2.4 of the 2010 Standards for Accessible
       Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to access the


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facility.

       h.        In guestroom #1710, which hotel deemed an accessible guestroom, the
grab bars by the water closet are positioned too low. This is in violation of section
806.2.4 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This condition
made it difficult for the plaintiff to access the facility.

        i.       In guestroom #1710, which hotel deemed an accessible guestroom, a
clear floor space for a forward reach to the lavatory is not provided. This is in violation
of section 806.2.4 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This
condition made it difficult for the plaintiff to access the facility.

         j.      In guestroom #1710, which hotel deemed an accessible guestroom, the
desk is too low. This is in violation of sections 806.2.1 and 902.3 of the 2010 Standards
for Accessible Design: 28 CFR §36.304. This condition made it difficult for the plaintiff
to access the facility
         k.      In guestroom #1710, which hotel deemed an accessible guestroom,
items in the guestroom and bathroom are out of reach to a person using a wheelchair.
This is in violation of sections 308, 806 and 811 of the 2010 Standards for Accessible
Design: 28 CFR §36.304. This condition made it difficult for the Plaintiff to use the
facilities.

        l.      Accessible seating at the tables and bars around the hotel are not
provided to a person using a wheelchair. This is in violation of sections 226 and 902 of
the 2010 Standards for Accessible Design. This condition made difficult for the Plaintiff
access the tables and bars; 28 CFR §36.201, §36.202, §36.304.

       m.       On the second floor of the hotel there are a cluster of three toilet
compartments. Only one of them is deemed accessible. This is in violation of section
213.2.4 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This condition
made it difficult the plaintiff to access the facility if the accessible compartment is in
use.

        n.        In the accessible toilet compartment on the second floor, the flush
control is located behind the water closet. This is in violation of section 604.6 of the
2010 Standards for Accessible Design: 28 CFR §36.304. This condition made it difficult
the plaintiff to access the facility.

       o.       In the accessible toilet compartment on the second floor, the grab bars
by the water closet are positioned too low. This is in violation of section 609.4 of the
2010 Standards for Accessible Design: 28 CFR §36.304. This condition made it difficult


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the plaintiff to access the facility.

         p.        In the accessible toilet compartment on the second floor, the toilet seat
cover dispenser is out of reach to a person in a wheelchair. This is in violation of section
308 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This condition made
it difficult the plaintiff to access the facility.

        q.        In the accessible toilet compartment in the lower lobby, the flush
control is located behind the water closet. This is in violation of section 604.6 of the
2010 Standards for Accessible Design: 28 CFR §36.304. This condition made it difficult
the plaintiff to access the facility.

        r.       The hotel telephone is out of reach to a person in a wheelchair. This is
in violation of sections 308 and 309 of the 2010 Standards for Accessible Design: 28
CFR §36.304. This condition made it difficult the plaintiff to access the facility.

         s.        In the accessible toilet compartment in the lower lobby, the toilet seat
cover dispenser is out of reach to a person in a wheelchair. This is in violation of section
308 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This condition made
it difficult the plaintiff to access the facility.

        t.        In the accessible toilet compartment in the lower lobby, the grab bars by
the water closet are positioned too low. This is in violation of section 609.4 of the 2010
Standards for Accessible Design: 28 CFR §36.304. This condition made it difficult the
plaintiff to access the facility.

        u.     In the AC Library-Workstation, the desk is too low. This is in violation
of section 902.3 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This
condition made it difficult for the plaintiff to access the facility.

        v.       A clear floor space is not provided around the AC Store and to access
the ATM machine. This is in violation of sections 304 and 305 of the 2010 Standards
for Accessible Design: 28 CFR §36.304. This condition made it difficult for the plaintiff
to access the facility.

        w.        The card reader keypad in the elevator is out of reach to a person in a
wheelchair. This is in violation of section 407.2.1.1 of the 2010 Standards for
Accessible Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to
access the facility.

        x.        The stairway does not have appropriate extensions at the bottom of the


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       stairs. This is in violation of section 505.10.3 of the 2010 Standards for Accessible
       Design: 28 CFR §36.304.

               y.      A site arrival point is not provided to enter the site. This is in violation
       of section 206.2.1 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This
       condition made it difficult for the plaintiff to access the facility.

              z.       The hotel does not provide the required amount of compliant accessible
       guest rooms, and the accessible rooms are not dispersed among the various classes of
       accommodations. This is in violation of section 224 of the 2010 Standards for
       Accessible Design. 28 CFR §36.304. This denies to Plaintiff the full and equal
       opportunity to stay at the subject hotel. 28 CFR §36.302(e)(1)

               aa.     The accessible features of the facility are not maintained, creating
       barriers to access for the Plaintiff, as set forth herein, in violation of 28 CFR §36.211


       9.      The foregoing violations are also violations of the 1991 Americans with

Disability Act Accessibility Guidelines (ADAAG), and the 2010 Standards for Accessible

Design, as adopted by the U.S. Department of Justice.

       10.      The discriminatory violations described in paragraph 8 are not an exclusive list of

the Defendant=s ADA violations. Plaintiff requires the inspection of the Defendant=s place of

public accommodation in order to photograph and measure all of the discriminatory acts

violating the ADA and all of the barriers to access. The individual Plaintiff, and all other

individuals similarly situated, have been denied access to, and have been denied the benefits of

services, programs and activities of the Defendant=s buildings and its facilities, and have

otherwise been discriminated against and damaged by the Defendant because of the Defendant=s

ADA violations, as set forth above. The individual Plaintiff, and all others similarly situated will

continue to suffer such discrimination, injury and damage without the immediate relief provided

by the ADA as requested herein. In order to remedy this discriminatory situation, the Plaintiff

requires an inspection of the Defendant=s place of public accommodation in order to determine


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all of the areas of non-compliance with the Americans with Disabilities Act.

       11.     Defendant has discriminated against the individual Plaintiff by denying her access

to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of its place of public accommodation or commercial facility in violation of 42

U.S.C. ' 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

discriminate against the Plaintiff, and all those similarly situated by failing to make reasonable

modifications in policies, practices or procedures, when such modifications are necessary to

afford all offered goods, services, facilities, privileges, advantages or accommodations to

individuals with disabilities; and by failing to take such efforts that may be necessary to ensure

that no individual with a disability is excluded, denied services, segregated or otherwise treated

differently than other individuals because of the absence of auxiliary aids and services.

       12.     Plaintiff is without adequate remedy at law and is suffering irreparable harm.

Considering the balance of hardships between the Plaintiff and Defendant, a remedy in equity is

warranted. Furthermore, the public interest would not be disserved by a permanent injunction.

Plaintiff has retained the undersigned counsel and is entitled to recover attorney=s fees, costs and

litigation expenses from the Defendant pursuant to 42 U.S.C. ' 12205 and 28 CFR 36.505.

       13.     Defendant is required to remove the existing barriers to the physically disabled

when such removal is readily achievable for its place of public accommodation that have existed

prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been an alteration to

Defendant=s place of public accommodation since January 26, 1992, then the Defendant is

required to ensure to the maximum extent feasible, that the altered portions of the facility are

readily accessible to and useable by individuals with disabilities, including individuals who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant=s facility is one which was designed




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and constructed for first occupancy subsequent to January 26, 1993, as defined in 28 CFR

36.401, then the Defendant=s facility must be readily accessible to and useable by individuals

with disabilities as defined by the ADA.

       14.     Notice to Defendant is not required as a result of the Defendant=s failure to cure

the violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees

and gross receipts of $500,000 or less). All other conditions precedent have been met by

Plaintiff or waived by the Defendant.

       15.     Pursuant to 42 U.S.C. ' 12188, this Court is provided with authority to grant

Plaintiff Injunctive Relief, including an order to require the Defendant to alter AC Hotel New

York Downtown to make those facilities readily accessible and useable to the Plaintiff and all

other persons with disabilities as defined by the ADA; or by closing the facility until such time

as the Defendant cures its violations of the ADA. The Order shall further require the Defendant

to maintain the required assessable features on an ongoing basis.


               WHEREFORE, Plaintiff respectfully requests:

               a.     The Court issue a Declaratory Judgment that determines that the

       Defendant at the commencement of the subject lawsuit is in violation of Title III of the

       Americans with Disabilities Act, 42 U.S.C. ' 12181 et seq.

               b.     Injunctive relief against the Defendant including an order to make all

       readily achievable alterations to the facility; or to make such facility readily accessible to

       and usable by individuals with disabilities to the extent required by the ADA; and to

       require the Defendant to make reasonable modifications in policies, practices or

       procedures, when such modifications are necessary to afford all offered goods, services,

       facilities, privileges, advantages or accommodations to individuals with disabilities; and



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       by failing to take such steps that may be necessary to ensure that no individual with a

       disability is excluded, denied services, segregated or otherwise treated differently than

       other individuals because of the absence of auxiliary aids and services, and to require the

       institution of a policy that requires Defendant to maintain its accessible features.

               c.      An award of attorney=s fees, costs and litigation expenses pursuant to 42

       U.S.C. ' 12205.

               d.      Such other relief as the Court deems just and proper, and/or is allowable

       under Title III of the Americans with Disabilities Act.


                                             COUNT II
                    VIOLATION OF NEW YORK CIVIL RIGHTS LAW

       16.     Plaintiff realleges all prior allegations as if fully set forth herein.

       17.     New York Law provides that it shall be an unlawful discriminatory practice for

any person, being the owner, lessee, proprietor, manager, superintendent, agent or employee of

any place of public accommodation, resort or amusement, because of the race, creed, color,

national origin, sexual orientation, military status, sex or disability or marital status of any

person, directly or indirectly..... [to deny] such person any of the accommodations, advantages,

facilities or privileges thereof........N.Y. Exec. Law Section 296(2)(a).

       18.     For the purposes of the foregoing paragraph, “discriminatory practice” includes:

                A.       A refusal to make reasonable modification in policies, practices or
       procedures, when such modifications are necessary to afford facilities, privileges,
       advantages or accommodation to individuals with disabilities, unless such person can
       demonstrate that making such modifications would fundamentally alter the nature of such
       facilities, privileges, advantages or accommodations;

               B.     A refusal to take such steps as may be necessary to ensure that no
       individual with a disability is excluded or denied services because of the absence of
       auxiliary aids and services, unless such a person can demonstrate that taking such steps



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       would fundamentally alter the nature of the facility, privilege, advantage or
       accommodation being offered or would result in an undue burden; and

              C.       A refusal to remove architectural barriers, and communication barriers that
       are structural in nature, in existing facilities......, where such removal is readily
       achievable......N.Y. Exec. Law Section 296(2)(c).

       19.     Pursuant to N.Y. Exec. Law Section 297(9), “Any person claiming to be

aggrieved by an unlawful discriminatory practice shall have a cause of action in any court of

appropriate jurisdiction for damages.”

       20.     Due to Defendant’s discrimination and failure to provide accessibility by

removing barriers to access at its property as discussed in this Complaint, Plaintiff suffered

emotional distress, humiliation, mental anguish and other injuries.

       21.     A place of public accommodation “shall be deemed to include ... hotels,” N.Y.

Civ. Rights Law §40.

       22.     New York law mandates, “all persons within the jurisdiction of this state shall be

entitled to the full and equal accommodations, advantages, facilities and privileges of any place

of public accommodation....” N.Y. Civ. Rights Law §40.

       23.     Defendant’s property is a place of public accommodation as defined in §40.

       24.     N.Y. Civ. Rights Law §41 states, “Any person who or any agency, bureau,

Corporation or association shall violate any provisions of sections forty, forty-a, forty-b or forty-

two or incite the violation of any said provisions…shall for each and every violation thereof be

liable to a penalty of not less than One Hundred Dollars ($100.00) nor more than Five Hundred

Dollars ($500.00) to be recovered by the person aggrieved…thereby in any court of competent

jurisdiction in the county in which the plaintiff or the defendant shall reside… also, any person

who shall violate any of the provisions of the foregoing section shall be deemed guilty of a

misdemeanor.”



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       25.     Plaintiff, Ms. Swartz visited Defendant’s property and encountered the

discriminatory barriers discussed in this Complaint and seeks minimum statutory damages under

§41.

       26.     By maintaining architectural barriers and policies that discriminate against people

with disabilities and through the other actions described above, Defendant, has, directly and/or

indirectly, refused, withheld from, and denied to Plaintiff, Swartz, because of her disability, the

full enjoyment of its property.

       27.     Plaintiff, Helen Swartz, has been damaged and will continue to be damaged by

this discrimination as more fully set forth above.


       WHEREFORE, the Plaintiff respectfully requests that this Court award Helen Swartz

statutory damages pursuant to N.Y. Civ. Rights Law §41, and compensatory damages pursuant

to N.Y. Exec. Law Section 297(9) and award Plaintiff’s attorney’s fees, costs and expenses

incurred prosecuting this action.


Dated: November 24, 2020                             Respectfully submitted,

                                                     /s/ Lawrence A. Fuller
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